                    IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF PENNSYLVANIA


GRATZ COLLEGE,

                      Plaintiff,
                                                          CIVIL ACTION
                                                          NO. 14–06966
      v.

SYNERGIS EDUCATION INC.,

                      Defendant.



                                        ORDER

      AND NOW, this 30th day of December 2015, for reasons stated in the Court’s

corresponding Memorandum:

   1. The following motions are DENIED:

           a. ECF No. 76—Gratz Motion to Seal Document ECF No. 77;

           b. ECF No. 80—Gratz Motion to Seal Documents ECF Nos. 78, 79;

           c. ECF No. 83—Gratz Motion to Seal Document ECF No. 81;

           d. ECF No. 84—Synergis Motion for Leave to File Documents Under Seal ECF
              Nos. 85, 86, 87;

           e. ECF No. 95—Gratz Motion to Seal Document ECF No. 94;

           f. ECF No. 97—Gratz Motion to Seal Document ECF No. 96;

           g. ECF No. 99—Gratz Motion to Seal Document ECF No. 98;

           h. ECF No. 101—Synergis Motion for Leave to File Under Seal ECF No. 104;

           i. ECF No. 112—Gratz Motion to Seal Document ECF No. 110;

           j. ECF No. 113—Gratz Motion to Seal Document ECF No. 111;

           k. ECF No. 116—Gratz Motion to Seal Document ECF No. 115;


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       l. ECF No. 117—Gratz Motion to Seal Document ECF No. 125;

       m. ECF No. 118—Synergis Motion to Seal ECF Nos. 119, 122;

       n. ECF No. 135—Gratz Motion to Seal Document ECF No. 134;

       o. ECF No. 137—Gratz Motion to Seal Document ECF No. 136.

2. The parties must file unredacted versions of the following documents on or before
   Monday, January 11: ECF Nos. 77, 78, 79, 81, 85, 86, 87, 94, 96, 98, 104, 110, 111, 115,
   125, 119, 122, 134, and 136.

3. If there are any documents that the parties believe should be kept under seal pursuant to
   the appropriate legal standards discussed in the Court’s Memorandum, each party may
   file a consolidated motion on or before Wednesday, January 6, with individualized
   justifications for each document that should be sealed.




                                                        BY THE COURT:



                                                        /s/ Gerald J. Pappert
                                                        GERALD J. PAPPERT, J.




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